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                                                   UNITED STATES DISTRICT COURT
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                                               NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                  [PROPOSED] ORDER DENYING
            21                                                     DEFENDANTS’ MOTION TO DISMISS

            22                       Plaintiffs,                   Hon. Phyllis J. Hamilton

            23             v.                                      Date:      May 27, 2020
                                                                   Time:      9:00 a.m.
            24       NSO GROUP TECHNOLOGIES LIMITED                Courtroom: 3, 3rd Floor
                     and Q CYBER TECHNOLOGIES LIMITED,             Judge:     Hon. Phyllis J. Hamilton
            25
                                     Defendants.
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                                                                            [PROPOSED] ORDER DENYING DEFENDANTS’
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                                MOTION TO DISMISS
 SAN FRA NCI S CO                                                                       CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55-1 Filed 04/23/20 Page 2 of 3



              1                Before the Court is Defendants NSO Group Technologies Limited and Q Cyber Technologies

              2      Limited’s (“Defendants”) Motion to Dismiss Plaintiffs WhatsApp Inc. and Facebook, Inc.’s

              3      (“Plaintiffs”) Complaint (the “Motion”). The Court, having considered Defendants’ Motion, and all

              4      other materials and arguments properly before it, hereby DENIES the Motion:

              5                1.    The Court has subject-matter jurisdiction over Plaintiffs’ claims and Defendants do not

              6      have immunity under the Foreign Sovereign Immunities Act. Samantar v. Yousuf, 560 U.S. 305, 325

              7      (2010).

              8                2.    The Complaint does not fail to join a required party because Defendants’ customers are

              9      not “required parties” under Federal Rule of Civil Procedure 19(a). Eldredge v. Carpenters 46 N. Cal.

            10       Ctys. Joint Apprenticeship & Training Comm., 662 F.2d 534, 537 (9th Cir. 1981).

            11                 3.    This Court also has personal jurisdiction over Defendants because (1) Defendants

            12       consented to jurisdiction by accepting WhatsApp’s Terms; and, in the alternative, Automattic, Inc. v.

            13       Steiner, 82 F. Supp. 3d 1011, 1022 (N.D. Cal. 2015) (Hamilton, J.); and (2) directed their conduct at

            14       California, Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). In addition,

            15       exercise of jurisdiction in this forum is not unreasonable. Sinatra v. Nat’l Enquirer, Inc., 854 F.2d

            16       1191, 1199 (9th Cir. 1988).

            17                 4.    Plaintiffs clearly state a claim for violations of the Computer Fraud and Abuse Act

            18       because Defendants accessed and conspired to access, without authorization, Plaintiffs’ servers, in

            19       addition to compromising users’ Target Devices, as defined in the Complaint. See Theofel v. Farey-

            20       Jones, 359 F.3d 1066, 1078 (9th Cir. 2003).

            21                 5.    Plaintiffs state a claim for trespass to chattels. Defendants’ actions impaired the quality

            22       and value of Plaintiffs’ system. See CompuServe Inc. v. Cyber Promotions, Inc., 962 F. Supp. 1015,

            23       1022 (S.D. Ohio 1997)

            24                 6.    Defendants do not challenge Plaintiffs remaining causes of action on Federal Rule of

            25       Civil Procedure 12(b)(6) grounds and, as such, those claims may proceed.

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                                                                                      [PROPOSED] ORDER DENYING DEFENDANTS’
  COOLEY LLP
ATTO RNEY S AT LAW                                                      2                                 MOTION TO DISMISS
 SAN FRA NCI S CO                                                                                 CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55-1 Filed 04/23/20 Page 3 of 3



              1      IT IS SO ORDERED.

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              3      Dated: _________________
                                                         Honorable Phyllis J. Hamilton
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                                                                       [PROPOSED] ORDER DENYING DEFENDANTS’
  COOLEY LLP
ATTO RNEY S AT LAW                                         3                               MOTION TO DISMISS
 SAN FRA NCI S CO                                                                  CASE NO. 4:19-CV-07123-PJH
